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               17                          CENTRAL DISTRICT OF CALIFORNIA
               18                                  SOUTHERN DIVISION
               19      STEVE MORSA,                             Case No. 8:14-cv-00161-JLS-JPR
               20                     Plaintiff,                FACEBOOK, INC.’S MOTION FOR
                                                                JUDGMENT ON THE PLEADINGS
               21            v.                                 OF INVALIDITY UNDER 35 U.S.C.
                                                                SECTION 101
               22      FACEBOOK, INC.
               23                                               DATE: December 19, 2014
                                    Defendant.                  TIME: 2:30 PM
               24                                               COURTROOM: 10A
               25
                                                                Hon. Josephine L. Staton
               26
               27
               28
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                   1   I.    INTRODUCTION
                   2         Plaintiff’s asserted claims are invalid under 35 U.S.C. § 101 as interpreted by
                   3   the Supreme Court’s recent decision in Alice Corp. Pty. Ltd., v. CLS Bank Int’l, 134
                   4   S. Ct. 2347, 2355-60 (2014). The Alice decision held that patent claims are invalid
                   5   when, as here, they attempt to cover an abstract idea implemented on a generic
                   6   computer. Id. In just the few short months following Alice, the Federal Circuit and
                   7   district courts throughout the country have invalidated claims similar to those
                   8   asserted by Plaintiff in no fewer than 16 cases – five from this district1 – and many
                   9   of those cases were decided in the context of Rule 12 motions. The Court should
               10      do the same here and grant judgment on the pleadings on the threshold issue of
               11      patentability.
               12            The asserted claims relate to nothing more exotic than showing
               13      advertisements to users. Both patents claim the abstract ideas of (1) selecting
               14      which ad will be presented to a user based on something about that user (e.g.
               15      targeted advertising) and (2) allowing advertisers to submit bids to determine which
               16      ad will be shown and how prominently it will be displayed.             The targeted
               17      advertising and bidding concepts in the claims have been common since the advent
               18      of advertising, long before the Internet and the web. The claims here add nothing
               19      patentable.
               20
               21
                       1
               22        See, e.g., McRO, Inc. v. Namco Bandai Games Am., Inc., No. CV 12-10322-
                       GW(FFMx), 2014 U.S. Dist. LEXIS 135212, at *44 (C.D. Cal. Sept. 22, 2014)
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                   1         Plaintiff also cannot claim to have contributed any “inventive concept” under
                   2   Alice because he copied more than half the patents’ common specification from
                   3   U.S. Patent No. 6,269,361, which was filed in 1999 and assigned to GoTo.com
                   4   (subsequently Overture and now Yahoo!).           As explained below, Plaintiff’s
                   5   wholesale plagiarism from an earlier patent by an unrelated inventor confirms that
                   6   the sole difference (if any) between Plaintiff’s alleged invention and the earlier
                   7   patent has nothing to do with technology, but with applying an abstract idea in a
                   8   slightly different context. For the reasons set forth below, therefore, the Court
                   9   should grant judgment on the pleadings that the asserted claims are invalid as a
               10      matter of law under 35 U.S.C. § 101. It is appropriate to do so at this stage of the
               11      case, so as to avoid the costs of continued litigation on patents whose claims do not
               12      even meet the threshold of patentability.2
               13      II.   BACKGROUND
               14            A.     The Patents-in-Suit
               15            Plaintiff is asserting two patents in this case: U.S. Patent Nos. 7,904,337 and
               16      8,341,020 (the “’337 patent” and “’020 patent” respectively)3.        Both of these
               17      patents purport to cover methods for targeted advertising and bidding.
               18                   1.    The ’337 Patent Claims Abstract Ideas
               19            The ’337 patent purportedly relates to variations on two abstract ideas: (1)
               20      selecting which advertisement (for a “product, service or benefit”)4 will be
               21      2
                         See, e.g., McRO, 2014 U.S. Dist. LEXIS 135212, at *44 (invalidating claims
               22      under 35 U.S.C. § 101 on a 12(c) motion); Amdocs (Israel) Ltd. v. Openet Telecom,
                       Inc., No. 1:10cv910 (LMB/TRJ), 2014 U.S. Dist. LEXIS 152447, at *29 (E.D. Va.
               23
                       Oct. 24, 2014) (same).
                       3
               24        Citations to “(‘337, xx:yy-zz and ‘020, xx:yy-zz)” refer to column and line
               25      numbers in the ‘337 and ‘020 patents. A copy of the ‘337 and ‘020 patents are
                       attached to the Declaration of Elizabeth L. Stameshkin In Support of Defendant
               26      Facebook, Inc.’s Motion for Judgment on the Pleadings of Invalidity Under 35
               27      U.S.C. § 101 (“Stameshkin Decl.”) as Exhibit 1 and 2.
                       4
                         Plaintiff refers to “products, services and benefits” as “PSB” throughout the
               28      specification.
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                   1   presented to a consumer based on information about that consumer (e.g.,
                   2   demographic information such as gender and age); and (2) using monetary bids
                   3   from advertisers to determine whether and how an advertisement will be displayed.
                   4   The goal of the alleged invention, according to the specification, is to allow
                   5   advertisers to “quickly, easily, affordably, and confidentially target their messages
                   6   to specific groups of consumers and receive prompt feedback as to the effectiveness
                   7   of their advertising campaigns.” (’337, 5:39-43.)
                   8         The specification plainly admits that the alleged novel feature of the
                   9   “invention” is that these advertising concepts are on the Internet. The specification
               10      claims that “never before has there been an entity demographic, geographic,
               11      psychographic criteria targeted pay-for-performance system which allows product,
               12      service, and benefit provider/advertiser/promoters to pay for the exposure of their
               13      offerings to their desired targeted entities/marketplace(s) in real or substantially real
               14      time via a computer network.”5 (’337, 9:46-55 (emphasis added).) In other
               15      words, the alleged invention “applies market principles to PSB matching on the
               16      Internet.” (Id., 7:66-67.)
               17            The ’337 patent claims that are being asserted all depend from independent
               18      claims 12, 113, or 126.6 Each of these claims focuses on determining whether the
               19      advertiser’s desired audience (such as persons of a specific age or gender) matches
               20      the characteristics of a particular consumer to determine whether to show that
               21      consumer a particular ad. For example, the claims recite an ability to determine if
               22      there is a match between the “demographic” information (such as gender or age)
               23
               24
               25      5
                         Facebook disagrees with this characterization, but accepts it as true for purposes
               26      of this motion.
                       6
               27        Plaintiff is asserting 7 claims of the ’337 patent: independent claims 12 and 113
                       and dependent claims 118, 119, 127, 128, and 129. Dependent claims 127, 128,
               28      and 129 depend from independent claim 126.
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                   1   with the consumer.7 The asserted claims, like claim 12, further recite that a “bid”
                   2   is taken into account in determining whether and how to place that ad:
                   3                A method of generating an advertising presentation using
                                    at least in part a computer-compatible network,
                   4
                                    comprising:
                   5
                                    maintaining a database including a plurality of
                   6                advertisements, wherein each advertisement is associated
                   7                with a provider and a modifiable bid amount that is
                                    independent of other component(s) of the advertisement,
                   8                each advertisement being searchable;
                   9
                                    identifying the advertisement(s) having demographic
               10                   and/or psychographic and/or firmographic criteria which
                                    generate at least a partial match with the entity;
               11
               12                   arranging the identified advertisement(s) into said
                                    advertising presentation at least in part in accordance with
               13                   the values of the respective bid amounts for the identified
               14                   advertisement(s).
               15      (’337, claim 12.) The terms “demographic,” “psychographic” and “firmographic”
               16      are well-known terms in advertising (both on and off the Internet) and were not an
               17      invention of Mr. Morsa. (Id., 23:16-24 (surveys comprising demographic,
               18      geographic, psychographic, and firmographic questions “have been used for many
               19      decades and are well within the knowledge of those in the art”). “Demographic”
               20      information includes information such as a consumer’s gender, age, and income;
               21      “psychographic” information includes information about a consumer’s interests
               22      such as her hobbies; and “firmographic” information refers to information about a
               23      firm (or other non-human entity) such as its number of employees, industry type
               24      and revenue. (See, e.g., ’337, claim 94.)8
               25
                       7
               26        The ’337 patent gives several examples of “demographic” information including
               27      age, gender, and income. (’337, claim 94.)
                       8
                         The term “multigraphic information” is a coined term by Plaintiff that refers to
               28      demographic, psychographic, and/or geographic information. (’337, 10:52-56.)
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                   1         Neither claim 113 of 126 add anything patentable. Claim 113 adds the use of
                   2   “a partial match” and determining “the presentation order and/or size and/or
                   3   dimensions and/or location of the advertisement” based on a “bid on an attribute.”
                   4   (Id., claim 113.) Unlike claim 12, claim 113 does not even require the use of a
                   5   computer or generic computer component. Claim 126 simply claims a “system”
                   6   which does the steps of claim 113. (Id., claim 126.)
                   7               2.     The ’020 Patent Claims Abstract Ideas
                   8         The ’020 patent is a continuation of the ’337 patent, and contains a nearly
                   9   identical specification. All asserted claims depend from either claim 1 or claim 97.9
               10      Independent claim 1 generally claims the use of both a bid and an advertisement’s
               11      popularity in determining advertisement placement:
               12                  A method comprising:
               13                  receiving through a network from a first device connected
                                   to the network information associating one or more
               14                  demographic and/or psychographic and/or firmographic
               15                  criteria with an ad;
               16                  receiving through the network from the first device or a
                                   second device connected to the network a bid associated
               17                  with the criteria;
               18                  determining, by at least one processor, ad placement
               19                  based at least in part on (i) the bid and (ii) ad performance
                                   and/or ad popularity.
               20
                       (’020, claim 1.) Claim 97 similarly allows for auctioning or bidding on any of an
               21
                       “ad, entity, user, seeker, or entity criteria” associated with criteria, and for
               22
                       determining ad placement. (Id., claim 97.)
               23
               24
               25      9
                        Plaintiff is asserting thirteen claims of the ’020 patent: independent claim 1 and
               26      dependent claims 2, 3, 5, 11-13, 18, 22, 23, 25, 29, and 108. Dependent claim 108
               27      depends from either claim 98 or 99, which each depend from independent claim 97.
                       Similarly, dependent claims 22 and 23 depend from either claims 20 or 21, which
               28      depend from claim 1.
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                   1                3.     The Dependent        Claims    Add       Nothing   of   Patentable
                   2                       Significance

                   3         The dependent claims of both patents add nothing concrete or non-abstract to
                   4   the independent claims, requiring only the following:
                   5       The use of “negative/contradictory criteria” to determine when not to present
                   6         an advertisement, (’337, claims 118-119 and 129);
                   7       Displaying ads next to content, (id., claim 126);
                   8       Determining a “presentation order and/or size and/or location” based on
                   9         either the bid or other enumerated factors, (id., claim 127).
               10            The dependent claims of the ’020 patent also add nothing patentable:
               11          enumerated types of “popularity” and other subjective “factors” that may be
               12            used in determining where and how an ad is placed, such as “actual
               13            popularity” and “desirability,” (id., claims 2, 99);
               14          basing ad placement “at least in part on the geographic location of an entity,”
               15            (id., claim 3);
               16          ad placement factors are “weighted,” (id., claims 11, 108);
               17          “displaying a bid amount that would improve ad placement” to an advertiser,
               18            (id., claim 5);
               19          delivering ads to a generic “wireless device,” (id., claim 12);
               20          delivering “a video and/or audio ad,” (id., claim 13);
               21          “tracking activity and/or tracking performance,” (id., claim 18);
               22          either requiring or not requiring an exact match between the advertiser’s
               23            desired attributes and a user, (id., claims 20-21);
               24          using information from a questionnaire or profile in matching, (id., claim 22);
               25          storing information about a user, (id., claim 23);
               26          enabling or setting advertiser notifications, (id., claim 27);
               27          only showing an advertisement at a certain time of day, (id., claim 29); and
               28          a bid is one of multiple factors in determining ad placement, (id., claim 98).
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                   1   None of these additional limitations add anything patentable. See, e.g., Amdocs,
                   2   2014 U.S. Dist. LEXIS 152447, at *28 (invalidating dependent claims that did not
                   3   “add sufficiently ‘more’ to render them patent eligible”).
                   4         B.     Plaintiff Only Overcame § 101 Rejections at the Patent Office by
                                    Relying on Pre-Alice Arguments
                   5
                             During the prosecution of both patents-in-suit, but before the Supreme
                   6
                       Court’s decision in Alice, the Patent Office (“PTO”) rejected Plaintiff’s claims for
                   7
                       failing to claim patentable subject matter under 35 U.S.C. § 101.
                   8
                             For instance, during the prosecution of the ’020 patent, “[b]ased upon
                   9
                       consideration of all of the relevant factors with respect to the claim as a whole” the
               10
                       claims “are held to claim an abstract idea.” (Stameshkin Decl. Ex. 3, Sept. 21, 2012
               11
                       Non-Final Rejection at 3.) Plaintiff overcame these rejections—at that time—by
               12
                       adding a requirement that ad placement be determined “by at least one processor.”
               13
                       (Stameshkin Decl. Ex. 4, Oct. 2, 2012 Claims and Response to Office Action.)
               14
                       Back then, almost two years before Alice, some at the PTO believed that applicants
               15
                       could overcome abstract idea rejections by adding a generic computer to the claims.
               16
                       Today, the Supreme Court’s decision in Alice makes clear that there mere adding of
               17
                       a generic computer is not enough. Alice, 134 S. Ct. at 2358.
               18
                             The PTO issued similar rejections during the prosecution of the ’337 patent.
               19
                       (Stameshkin Decl. Ex. 5, March 2, 2010 Non-Final Rejection.) Plaintiff responded
               20
                       by arguing that his claims were patentable based on the law of patent eligibility
               21
                       prior to Alice. (Stameshkin Decl. Ex. 6, Aug. 31, 2010 Supplemental Resp. to
               22
                       Office Action.) Plaintiff made these arguments almost four years before Alice.
               23
                             The PTO’s new internal guidelines, issued in the wake of Alice, make clear
               24
                       that Plaintiff’s claims are not patentable. (See Stameshkin Decl. Ex. 7,
               25
                       http://www.uspto.gov/patents/announce/alice_pec_25jun2014.pdf.)           The    new
               26
                       guidelines explain that “[r]equiring no more than a generic computer to perform
               27
                       generic computer functions that are well-understood, routine and conventional
               28
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                   1   activities previously known to the industry” will not convert an unpatentable
                   2   abstract idea into a patent-eligible invention. (Id. at 3.) “[M]ere instructions to
                   3   implement an abstract idea on a computer” is similarly insufficient. (Id.) Plaintiff’s
                   4   asserted claims – which attempt to cover abstract ideas applied to generic “devices”
                   5   and “processors” – present textbook examples of precisely what is no longer
                   6   eligible for patent protection under 35 U.S.C. § 101 and the PTO’s guidelines.
                   7         C.     The Technology Described in the Specification is Generic and Was
                                    Copied from Prior Art
                   8
                             The “technology” in the asserted claims is nothing more than “a generic
                   9
                       computer” performing “generic computer functions,” which Alice makes clear
               10
                       cannot make an abstract idea patentable. For example, the “Detailed Description of
               11
                       the Invention” in the ’337 describes the generic and conventional computer
               12
                       equipment used with the alleged invention, such as “client computers,” “servers,”
               13
                       and a “network” such as “the Internet,” and describes basic webpage functionality
               14
                       and storage of information in databases. (See, e.g., ’337, 12:8-15:67.) The generic
               15
                       nature of these disclosures is further supported by the fact that all disclosures of
               16
                       anything “technical” were copied from prior art.       In fact, the named inventor
               17
                       plagiarized all of the disclosures that could be considered technical from a prior art
               18
                       patent predating the patents-in-suit by five years. Thus, the generic computers
               19
                       discussed in the patent were known in the art and not Plaintiff’s invention.
               20
                             In particular, the passages cited above were copied nearly verbatim from U.S.
               21
                       Patent No. 6,269,361 (the “Goto.com patent”) (Stameshkin Decl. Ex. 8), which was
               22
                       filed in 1999 and issued in 2001 to Goto.com. Figure 1 of the ’337 and ’020
               23
                       patents purports to show “an example of a distributed system 10 configured as
               24
                       client/server architecture used in a preferred embodiment” of Plaintiff’s purported
               25
                       invention. But that figure was copied from Figure 1 of the Goto.com patent:10
               26
               27      10
                         The only difference between these two figures is the use of “match” engine in the
               28      place of “search” engine.
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                   1                         Figure 1 of the ’337 and ’020 Patents:
                   2
                   3
                   4
                   5
                   6
                   7
                   8
                   9
               10
               11
               12
               13
               14                              Figure 1 of the Goto.com Patent:
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27      (’337 patent, Fig. 1; Goto.com patent, Fig. 1.) Although Plaintiff mentions the
               28      Goto.com patent in his specification in passing (’337, 39:7-11), he failed to inform
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                   1   the Patent Office that more than half of his specification and all but one of his
                   2   figures were copied nearly verbatim from the Goto.com patent. The similarities
                   3   between the two patents are striking. (See, e.g. ’337 patent Figs. 1-9; ’337,1:62-
                   4   3:29, 5:30-6:3, 6:55-62, 7:61-9:29, 11:21-17:60, 18:3-25, 18:46-23:15, 25:43-
                   5   26:15, 32:60-37:14.)11
                   6          Although Plaintiff’s inexcusable and blatant plagiarism calls into question
                   7   the legitimacy of his lawsuit against Facebook, for purposes of this motion, it
                   8   shows that the asserted claims are directed only to abstract ideas applied to generic
                   9   computers.    Everything in the specification that even remotely resembles a
               10      discussion of the underlying technology was taken from the earlier Goto.com
               11      patent, confirming that the underlying technology was certainly known and generic
               12      by the time Plaintiff filed his first patent application.        Although Plaintiff
               13      occasionally replaced the word “search” with “match,” and added a few minor edits
               14      to the plagiarized material, he did not modify, let alone enhance, the technology
               15      discussed in the Goto.com patent in any material way.
               16      III.   ARGUMENT
               17             A.    Determination of Patent Eligibility is Appropriate on a Rule 12(c)
                                    Motion for Judgment on the Pleadings
               18
                              The determination of patentable subject matter at this stage of the
               19
                       proceedings is both appropriate and necessary. The validity of the asserted claims
               20
                       under 35 U.S.C. § 101, which defines patentable subject matter, is a “threshold”
               21
                       issue for the Court to decide as a matter of law. See, e.g., Bilski v. Kappos, 561
               22
                       U.S. 593, 602 (2010); In re Roslin Inst. (Edinburgh), 750 F.3d 1333, 1335 (Fed.
               23
                       Cir. 2014) (“Section 101 patent eligibility is a question of law that we review de
               24
                       novo.”); Digitech Image Techs., LLC v. Elecs. for Imaging, Inc., 758 F.3d 1344,
               25
                       1348-49 (Fed. Cir. 2014).
               26
               27      11
                         Attached as Appendix B is a chart showing some examples of the extensive
               28      material Plaintiff copied from the Goto.com patent.
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                   1         In fact, a court can and should rule on the threshold issue of patentability
                   2   early in a case to “spare both litigants and courts years of needless litigation.” I/P
                   3   Engine, Inc. v. AOL Inc., 576 Fed. Appx. 982, 996 (Fed. Cir. 2014) (Mayer, C.,
                   4   concurring) (noting the “clear advantages to addressing section 101’s requirements
                   5   at the outset of litigation” including obviating the need for “lengthy claim
                   6   construction”); Eclipse, 2014 WL 4407592, at *6             (quoting Judge Mayer’s
                   7   concurrence and dismissing for lack of patentable subject matter) (Wu, J.); Genetic
                   8   Techs. Ltd. v. Lab. Corp. of Am. Holdings, No. 12-cv-1736-LPS-CJB, 2014 WL
                   9   4379587, at *6 (D. Del. Sept. 3, 2014) (same).
               10            Following the Supreme Court’s recent decision in Alice, discussed infra,
               11      many district courts have ruled on Section 101 invalidity without performing claim
               12      construction, including Judge Wu in this District on both a motion for judgment on
               13      the pleadings (McRO) and a motion to dismiss (Eclipse IP) under Rule 12. See
               14      McRO, 2014 WL 4759953, at *44; Eclipse IP, 2014 WL 4407592 at *6; see also,
               15      e.g., Cogent Med., Inc. v. Elsevier Inc., Nos. C-134479-RMW, C-13-4483-RMW,
               16      C-13-4486-RMW, 2014 U.S. Dist. LEXIS 139856, at *19-*20 (N.D. Cal. Sept. 30,
               17      2014); DietGoal Innovations LLC v. Bravo Media, LLC, No. 13 Civ. 8391(PAE),
               18      2014 WL 3582914, at *16 (S.D.N.Y. July 8, 2014); Compression Tech. Solutions
               19      LLC v. EMC Corp., No. C-12-01746 RMW, 2013 WL 2368039, at *3 (N.D. Cal.
               20      May 29, 2013), aff’d, 557 Fed. App’x 1001 (Fed. Cir. Mar 10, 2014) (accepting
               21      patentee’s claim constructions for purposes of deciding patentability).12
               22
                       12
                          In ruling on a motion for judgment on the pleadings under Rule 12(c), the Court
               23
                       is not restricted to the four corners of the Complaint but may refer to materials
               24      subject to judicial notice. McRO, 2014 U.S. Dist. LEXIS at *14 (citing Knievel v.
               25      ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005)). The prosecution history of the
                       patents-in-suit and ’337 patent, discussed throughout this brief, are official
               26      government records of the Patent Office properly subject to judicial notice. See Lee
               27      v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (court may take judicial
                       notice of matters of public record if the facts are not subject to reasonable dispute);
               28      Openwave Sys. Inc. v. Myriad France S.A.S., No. C 10–02805 WHA, 2011 WL
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                   1         B.     The Alice Two-Part Test
                   2         The Supreme Court has long held that “[l]aws of nature, natural phenomena,
                   3   and abstract ideas” are not patentable subject matter under Section 101. Alice, 134
                   4   S. Ct. at 2354 (internal quotation omitted). These limitations on patentability exist
                   5   to prevent “monopolization” of “the basic tools of scientific and technological
                   6   work” that “might tend to impede innovation … thereby thwarting the primary
                   7   objective of the patent laws.” Id. (internal citations omitted).
                   8         In Alice, the Court reiterated held that a two-part test determines the
                   9   patentability of claims covering an “abstract idea.” Alice, 134 S. Ct. at 2355. First,
               10      the Court determines whether the claims “are directed to a patent-ineligible
               11      concept,” such as an abstract idea. Id. As Judge Pfaelzer explained in Enfish, LLC
               12      v. Microsoft Corp., No. 2:12-cv-07360-MRP-MRW, 2014 U.S. Dist. LEXIS
               13      156760 (C.D. Cal. Nov. 3, 2014) (Pfaelzer, J.), “the court must identify the purpose
               14      of the claim—in other words, determine what the claimed invention is trying to
               15      achieve—and ask whether that purpose is abstract.” Id. at 7.
               16            If the court finds the purpose to be abstract, it then proceeds to the second
               17      step of “search[ing] for an inventive concept—i.e., an element or combination of
               18      elements that is sufficient to ensure that the patent in practice amounts to
               19      significantly more than a patent upon the ineligible concept itself.” Id. (quotation
               20      marks and brackets omitted). These “additional elements” must be “more than
               21      simply stating the abstract idea while adding the words ‘apply it.’” Alice, 134 S.
               22      Ct. at 2357 (quotation marks and brackets omitted). For example, a claim that adds
               23      “well-understood, routine, conventional activity” or technology – such as general-
               24      purpose computers – does not constitute an “inventive concept.” Mayo Collab.
               25      Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012). “Thus, if a patent’s
               26
               27      1832999, at *4 (N.D. Cal. May 13, 2011) (taking judicial notice of patents
                       and patent application that were at issue in the case, noting that the items were
               28      “matters of public record”).
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                   1   recitation of a computer amounts to a mere instruction to implement an abstract
                   2   idea on a computer, that addition cannot impart patent eligibility.” Alice, 134 S. Ct.
                   3   at 2358 (citation, quotation marks, ellipses and brackets omitted).
                   4         Relying on the Supreme Court’s decision in Alice, the Federal Circuit and
                   5   district courts have increasingly found patents invalid under § 101. For example, in
                   6   a non-precedential decision relying on Alice, the Federal Circuit invalidated claims
                   7   on a computerized bingo game. See Planet Bingo, LLC v. VKGS LLC, No. 2013-
                   8   1663, 2014 WL 4195188, at *2 (Fed. Cir. Aug. 26, 2014). Similarly, Judge Mayer
                   9   found in a concurrence that claims directed to a “system which filters information
               10      for relevance to a user’s query using combined content and collaborative data”
               11      would be invalid under 35 U.S.C. § 101. I/P Engine, 576 Fed. Appx. at 994
               12      (Mayer, J., concurring). Recent precedential cases further illustrate the trend. See
               13      buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (invalidating
               14      claims that “are squarely about creating a contractual relationship—a ‘transaction
               15      performance guaranty’—that is beyond question of ancient lineage”); Digitech,758
               16      F.3d at 1351 (affirming the invalidity of “an ineligible abstract process of gathering
               17      and combining data.”).
               18            District courts across the country have also followed suit and invalidated
               19      claims under § 101 following the Supreme Court’s guidance in Alice. In a case
               20      very similar to this one, Tuxis Technologies., LLC v. Amazon.com, Inc., No. 13-
               21      1771-RGA, 2014 U.S. Dist. LEXIS 122457 (D. Del. Sept. 3, 2014), the court
               22      invalidated claims which covered “nothing more than suggesting an additional good
               23      or service, in real time over an electronic communications device, based on certain
               24      information obtained about the customer and the initial purchase.” Id. at *13. In
               25      Walker Digital, LLC v. Google, Inc., No. 11- 318-LPS, 2014 U.S. Dist. LEXIS
               26      122448 (D. Del. Sept. 3, 2014), the court invalidated claims on “the basic concept
               27      of controlled exchange of information about people as historically practiced by
               28      matchmakers and headhunters.” Id. at *14. In Enfish, Judge Pfaelzer invalidated
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                   1   claims that captured “the concept of organizing information using tabular formats”
                   2   which “preempt a basic way of organizing information” as “it does not matter how
                   3   memory is physically stored on the hardware.” Enfish, 2014 U.S. Dist. LEXIS
                   4   156760 at *20-*21 (emphasis in original). The list goes on.13 Applying the Alice
                   5   test here compels the conclusion that the asserted claims are invalid under § 101.
                   6         C.     The Asserted Claims of the ’337 Patent are Directed to Abstract
                                    Ideas
                   7
                             As noted, the first step of the Alice test asks “whether the claims at issue are
                   8
                       directed to a patent-ineligible concept,” e.g., whether they are directed to abstract
                   9
                       ideas. Alice, 134 S. Ct. at 2355. Each asserted claim of the ’337 patent is directed
               10
               11
               12
                       13
                          See, e.g., McRO, 2014 U.S. Dist. LEXIS 135212, at *26-*27 (invalidating claims
               13
                       directed to “automatically animating lip synchronization and facial expression of
               14      three-dimensional characters”); Eclipse, 2014 WL 4407592, at *11 (invalidating
                       claims to a “computer-based notification system”); Cogent, 2014 U.S. Dist. LEXIS,
               15
                       at *11 (invalidating a patent directed to the abstract idea of “maintaining and
               16      searching a library of information”); Open Text S.A. v. Alfresco Software Ltd., No.
                       13-cv-04843-JD, 2014 WL 4684429, at *4 (N.D. Cal. Sept. 19, 2014) (invalidating
               17
                       claims that recite abstract ideas for the “commonplace and time-honored practice of
               18      interacting with customers to promote marketing and sales”); Loyalty Conversion
                       Sys. Corp. v. Am. Airlines, Inc., No. 2:13-CV-655, 2014 U.S. Dist. LEXIS 122244,
               19
                       at *36-*38 (E.D. Tex. Sept. 3, 2014) (invalidating claims to computerized loyalty
               20      rewards system); CMG Fin. Servs., Inc. v. Pac. Trust Bank, F.S.B., No. CV 11-
                       10344 PSG (MRWx), 2014 U.S. Dist. LEXIS 145557 (C.D. Cal. Aug. 29, 2014)
               21
                       (invalidating claims to system for automated account transactions) (Gutierrez, J.);
               22      DietGoal, 2014 WL 3582914, at *3 (invalidating claims for “computerized meal
                       planning”); Comcast IP Holdings I, LLC v. Sprint Commc’ns Co. L.P., No. 12-205-
               23
                       RGA, 2014 WL 3542055, at *3-*4 (D. Del. July 16, 2014) (invalidating claims
               24      which boiled down to “the very concept of a decision”); Every Penny Counts, Inc.
               25      v. Wells Fargo Bank, N.A., No. 8:11-cv-2826-T-23TBM, 2014 U.S. Dist. LEXIS
                       127369, at *2-*3 (M.D. Fla. Sept. 11, 2014), (invalidating claims covering “a
               26      method of and a system of automated saving or automated charitable giving”);
               27      Wolf, 2014 U.S. Dist. LEXIS 156527, at *29 (invalidating claims directed to
                       “providing event photographs organized by participant, as applied using the
               28      internet”).
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                   1   to the abstract ideas of matching an advertisement to a consumer based on
                   2   information about the consumer, and allowing advertisers to bid on ad placement.
                   3         The claims are so abstract, in fact, that they could be performed by a human
                   4   being using pen and paper, without the use of a computer at all, as illustrated in the
                   5   chart attached as Appendix A. For example, a distributor could use direct mail
                   6   advertising to target advertisements to consumers, with advertisers bidding for
                   7   placement in the direct mail campaign. Plaintiff even refers to direct mail as
                   8   “familiar” to “the many millions of smaller companies and professional practices,”
                   9   and uses Publisher’s Clearing House as a specific example of a potential user of his
               10      proposed system. (’337, 4:62-5:5; 37:46-56.) Both the Supreme Court and the
               11      Federal Circuit have made clear that a method that “can be performed in the human
               12      mind, or by a human using a pen and paper . . . is merely an abstract idea and is not
               13      patent-eligible under § 101.” CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d
               14      1366, 1372-73 (Fed. Cir. 2011); see also Gottschalk v. Benson, 409 U.S. 63, 67
               15      (1972) (method that “can be done mentally” was an abstract idea); Parker v. Flook,
               16      437 U.S. 584, 586 (1978) (“the computations can be made by pencil and paper
               17      calculations”).
               18            Multiple cases have recognized that computerized “matching” based on rules
               19      or requirements, as recited in the asserted claims, is an unpatentable abstract idea.
               20      See, e.g., Tuxis, 2014 U.S. Dist. LEXIS 122457, at *13 (finding invalid claims that
               21      suggest “an additional good or service . . . based on certain information obtained
               22      about the customer and the initial purchase”); Walker Digital, 2014 U.S. Dist.
               23      LEXIS, at *14 (finding invalid claims that added nothing meaningful to “the basic
               24      concept of controlled exchange of information about people as historically
               25      practiced by matchmakers and headhunters” where information of a party is only
               26      released based on satisfaction of rules set by that party); Lumen View Tech, LLC v.
               27      Findthebest.com, Inc., 984 F. Supp. 2d 189 (S.D.N.Y. 2013).
               28
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                   1         As in Tuxis and Walker, in Lumen View, the court found claims invalid that
                   2   were remarkably similar to the ones asserted here. The claims in Lumen View
                   3   required that “one or more parties on each side input attribute preferences and
                   4   intensity of preference data and then a computer matches the parties on each side by
                   5   a ‘closeness-of-fit’ process and produces a list.” Id. at 192. The Lumen View court
                   6   further explained that claiming “the idea of bilateral and multilateral matchmaking
                   7   using a computer in the context of a financial transaction or enterprise” was
                   8   “preemptive in the broadest sense.”         Id. at 198. There is no distinguishable
                   9   difference between the matching of attribute preferences in Lumen View and the
               10      asserted claims’ matching of an advertiser’s audience preferences with a
               11      consumer’s demographic information.
               12            The concept of bidding for advertising placement is also an unpatentable
               13      abstract idea. Plaintiff’s claims refer to “arranging” ads in accordance with a bid
               14      and determining “placement” of an advertisement or “presentation order and/or size
               15      of and/or dimensions of and/or location of the advertisement” based at least in part
               16      on a bid. (’337, independent claims 12, 113, 126, and dependent claim 128.) This
               17      is the same as placing an ad in a newspaper – an advertiser could pay more for a
               18      larger or more prominently placed ad, or could pay more to place an ad in a more
               19      popular section of the newspaper.
               20            Even Plaintiff’s copied source material, the Goto.com patent, describes such
               21      a bidding process as a “pay-for-performance” process that simply “applies market
               22      principles” (such as bidding) “to advertising on the Internet.” (Goto.com patent at
               23      5:4-5; see also ’337,7:64-67 (similar text).) Reflecting fundamental economic and
               24      business realities, it also “helps ensure the pricing structure reflects the market and
               25      is accessible to providers of all budget sizes.” (Goto.com patent at 5:14-17; see
               26      also ’337, 8:7-10 (identical text).) Thus, even the source material plagiarized by
               27      Plaintiff admits the concept of an “online” bidding process is just the abstract idea
               28      of an auction combined with the Internet.
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                   1         The fact that an advertiser would be willing to pay more to place an
                   2   advertisement in a more prominent location or in a larger size is also an abstract
                   3   idea. (See, e.g., Goto.com patent at 4:3-6 (“The higher an advertiser’s position on a
                   4   search result list, the higher likelihood of a ‘referral’; that is, the higher the
                   5   likelihood that a consumer will be referred to the advertiser’s web site through the
                   6   search result list.”); see also ’337, 5:66-6:3 (substantially identical text).) For
                   7   example, advertisers want to place their ad during the Super Bowl or on a highly
                   8   trafficked billboard, and are willing to pay more to do so. Using a bidding system
                   9   to determine whose advertisement gets the best placement cannot be a patentable
               10      advance.
               11            The bidding system described in the patents-in-suit is also admitted prior art
               12      to the ’337 patent, as demonstrated by the text copied from the Goto.com patent
               13      filed more than five years earlier. See McRO, 2014 U.S. Dist. LEXIS 135212, at
               14      *29 (“when determining whether a patent contains an adequate inventive concept,
               15      the Court must factor out conventional activity” that was “previously used in the
               16      field”). The common specification also admits that “[p]ay for placement database
               17      search systems have been developed in which advertisers bid on the placement of
               18      their listings in search results returned to a searcher in response to a world wide
               19      web query from a searcher.”       (’337, 2:43-46; see also ’361, 4:65-5:1 (“In a
               20      preferred embodiment of the present invention, a web site promoter selects a search
               21      term and influences a position within the search result list generated by that search
               22      term by participating in an online competitive bidding process.”).) Plaintiff even
               23      names Overture Services/Yahoo! (the successor to GoTo.com), Google, and
               24      FindWhat as offering preexisting systems for bidding on ad placement. (’337,
               25      3:20-29.)
               26            Finally, none of the additional dependent claims 118, 119, 127, or 129 add
               27      “sufficiently ‘more’” to the independent claims to render them non-abstract.
               28      Displaying an advertisement next to content or using “negative” criteria to
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                   1   determine not to match a user with an advertisement are just additional abstract
                   2   variations on the claims from which they depend.
                   3         D.    The Asserted Claims of the ’020 Patent are Directed to Abstract
                                   Ideas
                   4
                             The ’020 patent claims many of the same concepts as does the ’337 patent –
                   5
                       use of a bid to determine advertisement placement (’020, claim 1, 97-99), and
                   6
                       matching demographic criteria of a user with an advertisement (id., claims 20-21).
                   7
                       Claims 1 and 99 of the ’020 patent add the limitation of “popularity” or other
                   8
                       performance related factors be accounted for in determining ad placement.
                   9
                       (See ’020, claims 1; see also id., claims 98 and 99.) But this is no different than a
               10
                       newspaper declining to include ads that would not be popular among its readers –
               11
                       such as those containing offensive or highly divisive content.
               12
                             The dependent claims of the ’020 patent fare no better. The fact that an
               13
                       advertisement might be a video and/or audio ad or might be delivered to a wireless
               14
                       device just brings in more generic computer features, with no actual limitation in
               15
                       scope. The chart attached as Appendix A further demonstrates that the dependent
               16
                       claims add nothing beyond abstract, unpatentable ideas.
               17
                             E.    The Asserted Claims Do Not Contain Anything That Transforms
               18                  the Patent-Ineligible Abstract Ideas into Patent-Eligible Invention
               19            Alice’s second step requires the Court to “examine the elements of the claim
               20      to determine whether it contains an inventive concept sufficient to transform the
               21      claimed abstract idea into a patent-eligible application.” Alice, 134 S. Ct. at 2357
               22      (quotation marks omitted). A valid claim, thus, must include “additional features”
               23      beyond the abstract idea itself, which “requires more than simply stating the
               24      abstract idea while adding the words ‘apply it.’” Id. (quotation marks and brackets
               25      omitted). It also requires more than the recitation of “well-understood, routine,
               26      conventional activity” or technology. Mayo, 132 S. Ct. at 1294. In particular, “the
               27      mere recitation of a generic computer cannot transform a patent-ineligible abstract
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                   1   idea into a patent-eligible invention,” particularly given “the ubiquity of
                   2   computers.” Alice, 134 S. Ct. at 2358. “Thus, if a patent’s recitation of a computer
                   3   amounts to a mere instruction to implement an abstract idea on a computer, that
                   4   addition cannot impart patent eligibility.” Id. (citation, quotation marks, ellipses
                   5   and brackets omitted).
                   6         None of the asserted claims add any “inventive concept sufficient to
                   7   transform the claimed abstract idea into a patent-eligible application.” Alice, 134 S.
                   8   Ct. at 2357.     At best, each asserted claim recites generic and conventional
                   9   computer-related equipment. (’337, claim 12 (“computer-compatible network,”
               10      “database”) and claims 126-129 (“processor electronics configured to perform
               11      operations,” “device”); ’020 claim 1 (“network,” “first device,” “second device,”
               12      “processor”), claim 12 (“wireless device”), and claim 97 (“network,” “device,”
               13      “processor”).)    Claim 113 does not set forth a single computer or other
               14      technologically related feature at all. None of the asserted claims mention or
               15      envision any special technology or programming. Open Text, 2014 WL 4684429, at
               16      *2 (invalidating claims that incorporated “[n]o special technology or programming”
               17      and that implemented the abstract idea “on a generic computer system without any
               18      meaningful limitations”); see also, e.g., buySAFE, 765 F.3d at 1352 (invalidating
               19      claims directed to computer transactions “via a computer network”).
               20            The specification further confirms that the alleged invention contemplates
               21      only conventional, generic computer and network structures, to be programmed
               22      with unspecified software. (See, e.g., ’337, 12:50-54 (“The client computers 12 can
               23      be conventional personal computers (PCs), workstations, computer systems, etc.”
               24      which “typically includes one or more processors, memories, input/output devices,
               25      and a network interface, such as a conventional modem”); 12:54-56 (the servers can
               26      “be similarly configured”); Fig. 1.) The verbatim copying from the Goto.com
               27      patent further confirms that the underlying technology was known and generic.
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                   1         Although Plaintiff was able to overcome the § 101 rejection during the ’020
                   2   prosecution by merely adding the words “by at least one processor,” this will not
                   3   suffice under Alice as a matter of law because “the mere recitation of a generic
                   4   computer cannot transform a patent-ineligible abstract idea into a patent-eligible
                   5   invention.” Alice, 134 S. Ct. at 2358. The asserted claims accordingly recite
                   6   nothing more than “a mere instruction to implement an abstract idea” with software
                   7   in a conventional computer network instead of on paper, which “cannot impart
                   8   patent eligibility.” Id.; see also Dealertrack, Inc. v. Huber, 674 F.3d 1315, 1333-34
                   9   (Fed. Cir. 2012) (“The claims are silent as to how a computer aids the method, the
               10      extent to which a computer aids the method, or the significance of a computer to the
               11      performance of the method.”); Gametek LLC v. Zynga, Inc., Nos. CV 13-2546 RS,
               12      CV-13-3089-RS, CV-13-3472-RS, CV-13-3493-RS, 2014 WL 1665090, at *7
               13      (N.D. Cal. Apr. 25, 2014) (finding patent invalid where claims recited a generic
               14      computer network that was “merely the environment in which the abstract idea is
               15      practiced.”).
               16            Even considering each claim as an “ordered combination” adds nothing to
               17      confer patent-eligibility. Alice, 134 S. Ct. at 2359-60. As in Alice, the “claims do
               18      not, for example, purport to improve the functioning of the computer itself… Nor
               19      do they effect an improvement in any other technology or technical field… Instead,
               20      the claims at issue amount to nothing significantly more than an instruction to apply
               21      the abstract idea”—such as receiving information about users, receiving bids and
               22      advertisements from advertisers, matching users and advertisements, and
               23      determining ad placement—“using some unspecified, generic computer.”              Id.
               24      (citations and quotation marks omitted).       Under Alice, “that is not enough to
               25      transform an abstract idea into a patent-eligible invention.” Id. (quotation marks
               26      omitted). Because the asserted claims “add nothing of substance to the underlying
               27      abstract idea,” they are “patent ineligible under § 101.” Id. at 2360.
               28
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                   1   IV.   CONCLUSION
                   2         For the foregoing reasons, Facebook respectfully requests that the Court
                   3   grant its Motion for Judgment on the Pleadings, find that the asserted claims of the
                   4   patents-in-suit are invalid under 35 U.S.C. § 101, and dismiss the present action.
                   5
                   6   Dated: November 13, 2014
                                                             COOLEY LLP
                   7
                   8
                                                             /s/ Heidi L. Keefe
                   9                                         Heidi L. Keefe
               10
                                                             Attorneys for Defendant
               11                                            Facebook, Inc.
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